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2                                                                  The Honorable John C. Coughenour

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6                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
7                                         AT SEATTLE

8    3RD AVE SW LLC and JHA FAMILY LLC,                       )
                                                              )
9                                               Plaintiffs,   )   No. 2:24-cv-00552-JCC
                    vs.                                       )
10                                                            )   DECLARATION OF
     RYAN JIMENEZ, ODIN PROPERTY TAX                          )   JOHN R. ZELDENRUST
11   ADVOCATES LLC, a Colorado limited liability              )
     company, and KING COUNTY, a political                    )
12   subdivision,                                             )
                                      Defendants.             )
13                                                            )

14   I, John R. Zeldenrust, declare that:

15          1.       I am over eighteen years of age and I am competent to testify as to the matters

16   stated herein. I am the attorney representing King County in this case. Attorney Kristopher J.

17   Bundy represents defendant Ryan Jimenez. Plaintiff is represented by Ryan Yoke.

18          2.       In accordance with the Court's order (Dkt. 10), I am writing to summarize my

19   contacts with plaintiff's counsel Ryan Yoke since this case was filed.

20          3.       Plaintiff filed this lawsuit in King County Superior Court on March 22, 2024.

21   Between April 4 and April 11, 2024, I communicated with Mr. Yoke via telephone and email

22   regarding the case in general. I asked that he agree to a 60-day stay of proceedings and file a

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                                                                         Leesa Manion (she/her), Prosecuting Attorney
     DECLARATION OF JOHN R. ZELDENRUST (2:24-                            CIVIL DIVISION, Litigation Section
                                                                         701 5th Avenue, Suite 600
     cv-00552-JCC)- 1                                                    Seattle, Washington 98104
                                                                         (206) 477-1120 Fax (206) 296-0191
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1    claim for damages with King County, thereby enabling the County to investigate his claims. The

2    parties were unable to agree to the terms of a stay.

3           4.       On April 22, 2024, I sent Mr. Yoke an email stating that defendants King County

4    and Jiminez would be removing the case to federal court. That same day, King County filed the

5    removal paperwork with this Court. See Dkt. 1.

6           5.       On August 20, 2024, the Court issued a minute order (Dkt. 10) directing King

7    County to notify the Court regarding what communications it had had with Mr. Yoke since King

8    County removed this case to federal court. That same day, I emailed Mr. Yoke asking for a

9    conference to discuss the case.

10          6.       On Friday, August 23, 2024, Mr. Yoke sent me an email asking if I could discuss

11   the case on Monday afternoon (August 26, 2024). I responded that same day, indicating

12   Monday, August 26, 2024 for a conference would be fine.

13          7.       Mr. Yoke phoned and left me a message in the afternoon of Monday, August 26,

14   2024, indicating he had been busy and unable to speak with me. I followed up via email later

15   that day, stating that I intended to file a declaration with the Court on Tuesday August 27 as

16   directed in the Court's August 20, 2024 order.

17          8.       On Tuesday August 27, 2024, I spoke with Mr. Yoke on the phone. He stated that

18   he would "be filing something with the Court in the next few days."

19          I declare under penalty of perjury under the laws of the United States and State of

20   Washington that the foregoing is true and correct to the best of my knowledge.

21          DATED this 28th day of August, 2024 at Seattle, Washington.

22
                                           ___________________________
23                                         JOHN R. ZELDENRUST


                                                                         Leesa Manion (she/her), Prosecuting Attorney
     DECLARATION OF JOHN R. ZELDENRUST (2:24-                            CIVIL DIVISION, Litigation Section
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